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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF CONNECTICUT

------------------------------x
                              :
UNITED STATES                 :       No. 3:____________(_____)
                                            22mj104      RAR
                              :
v.                            :
                              :
_________________________
Ariel Legassa                 :       DATE: _____________
                                            2/2/2022
                              :
------------------------------x

                                 ORDER

     This Order is entered, pursuant to Federal Rule of Criminal

Procedure 5(f) and the Due Process Protections Act, Pub. L. No.

116-182, 134 Stat. 894 (Oct. 21, 2020), to confirm the

Government’s disclosure obligations under Brady v. Maryland, 373

U.S. 83 (1963), and its progeny, and to summarize the possible

consequences of violating those obligations.

     The Government must disclose to the defense all information

“favorable to an accused” that is “material either to guilt or

to punishment” and that is known to the Government. Id. at 87.

This obligation applies regardless of whether the defendant

requests this information or whether the information would

itself constitute admissible evidence. The Government shall

disclose such information to the defense promptly after its

existence becomes known to the Government so that the defense

may make effective use of the information in the preparation of

its case.
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     As part of these obligations, the Government must disclose

any information that can be used to impeach the trial testimony

of a Government witness within the meaning of Giglio v. United

States, 405 U.S. 150 (1972), and its progeny. Such information

must be disclosed sufficiently in advance of trial in order for

the defendant to make effective use of it at trial or at such

other time as the Court may order. 1

     The foregoing obligations are continuing ones and apply to

materials that become known to the Government in the future.

These obligations also apply to information that is otherwise

subject to disclosure regardless of whether the Government

credits it.

     In the event the Government believes that a disclosure

under this Order would compromise witness safety, victim rights,

national security, a sensitive law-enforcement technique, or any

other substantial government interest, it may apply to the Court

for a modification of its obligations, which may include in

camera review or withholding or subjecting to a protective order

all or part of the information otherwise subject to disclosure. 2


1 This Order does not purport to set forth an exhaustive list of
the Government’s disclosure obligations.

2 The Classified Information Procedures Act sets forth separate
procedures to be followed in the event that the Government
believes matters relating to classified information may arise in
connection with the prosecution. See 18 U.S.C. App. 3 §§1 et
seq.
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       For purposes of this Order, the Government has an

affirmative obligation to seek all information subject to

disclosure under this Order from all current or former federal,

state, and local prosecutors, law enforcement officers, and

other officers who have participated in the prosecution, or

investigation that led to the prosecution, of the offense or

offenses with which the defendant is charged.

       If the Government fails to comply with this Order, the

Court, in addition to ordering production of the information,

may:

       (1) specify the terms and conditions of such production;

       (2) grant a continuance;

       (3) impose evidentiary sanctions;

       (4) impose contempt or other sanctions on any lawyer

responsible for violations of the Government’s disclosure

obligations, or refer the matter to disciplinary authorities;

       (5) dismiss charges before trial or vacate a conviction

after trial or a guilty plea; or

       (6) enter any other order that is just under the

circumstances.

       It is so ordered.

                                    /s/ Robert A. Richardson
                                    HON. ________________________
                                           /s/ Robert A. Richardson
                                    UNITED STATES ___________
                                                    Magistrate   JUDGE
